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 6   Attorney for Defendant
 7   NHAT HOAHG
 8
               IN THE UNITED STATES OF DISTRICT COURT FOR THE
 9
                          EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,
12                                                CR.S. No. 2:10-MJ-290 KJN
13                             Plaintiff,
                                                  STIPULATION AND ORDER TO
14                v.                              MODIFY CONDITIONS OF
15                                                PRETRIAL RELEASE
     NHAT HOANG,
16                                                Judge: Hon. Edmund F. Brennan
17                Defendant.
18
19
20
21         NHAT HOANG, by and through her counsel, DAVID D. FISCHER, the United
22   States Government, by and through its counsel, TODD D. LERAS, Assistant United
23   States Attorney, and BECKY FIDELMAN, United States Pretrial Services Officer,
24   hereby agree to modify the defendant’s condtions of release as follows:      Special
25   condition number eight, “You shall seek and/or maintain employment and provide proof
26   of same as requested by your pretrial services officer” shall be deleted.
27         The primary reason for this modification is that the defendant has many health
28   problems that prevent her from seeking and/or maintainng employment.



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 1         Accordingly, all parties and Ms. Hoang agree to this modification.
 2
 3   Dated: October 7, 2010
 4
 5                                                  Respectfully Submitted,
 6
 7                                                  /s/David D. Fischer
                                                    ____________________________
 8
                                                    DAVID D. FISCHER
 9                                                  Attorney for Defendant
                                                    NHAT HOANG
10
11
12
13                                                  BENJAMIN B. WAGNER
                                                    United States Attorney
14
15   DATE: October 7, 2010
                                                    /s/ David D. Fischer for
16                                                  _____________________________
17                                                  TODD D. LERAS
                                                    Assistant United States Attorney
18
19
20
21   Date: October 7, 2010                          /s/ David D. Fischer for
                                                    ______________________________
22                                                  BECKY FIDELMAN
23                                                  United States Pretrial Services Officer

24
25
           SO ORDERED.
26
27   Dated: October 7, 2010
                                                    _____________________________
28                                                  HON. EDMUND F. BRENNAN
                                                    United States Magistrate Judge


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